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                   IN THE UNITED STATES DISTRICT COURT
                  FOR THE EASTERN DISTRICT OF ARKANSAS
                             WESTERN DIVISION

UNITED STATES OF AMERICA                                                       PLAINTIFF

v.                           CASE NO. 4:12CR00112 BSM

CALVIN LONG                                                                  DEFENDANT

                     PRELIMINARY ORDER OF FORFEITURE

       On June 19, 2013, defendant Calvin Long appeared and pled guilty to count four of

the indictment dated May 10, 2012. Pursuant to 18 U.S.C. § 924(d) and 28 U.S.C. § 2461(c),

Long agreed to forfeit one Bennelli, model super black, 12-gauge shotgun, serial number

U370486 and one Mossberg, model 500c, 20-gauge shotgun, serial number R340685 as

specified in forfeiture allegation two of the indictment (hereinafter the “subject property”).

       Upon the entry of this order, the United States Attorney General, or his designee, is

authorized to seize the above listed property and to conduct any discovery proper in

identifying, locating, or disposing of the property subject to forfeiture, in accordance with

Federal Rule of Criminal Procedure 32.2(b)(3). Additionally, the United States Attorney

General, or his designee, is further authorized to commence any applicable proceeding to

comply with statutes governing third party rights, including giving notice of this order.

       The United States shall publish notice of the order and its intent to dispose of the

property in such a manner as the United States Attorney General, or his designee, may direct.

The United States may also, to the extent practicable, provide written notice to any person

known to have an alleged interest in the subject property.
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       Any person, other than the above named defendant, asserting a legal interest in the

subject property may, within thirty days of the final publication of notice or receipt of notice,

whichever is earlier, petition for a hearing without a jury to adjudicate the validity of his

alleged interest in the subject property, and for an amendment of the order of forfeiture,

pursuant to 18 U.S.C. § 2253, which incorporates 21 U.S.C. §853(n)(2).

       Pursuant to Federal Rule of Criminal Procedure 32.2(b)(4)(a), this preliminary order

of forfeiture shall become final as to the defendant at the time of sentencing and shall be

made part of the sentence and included in the judgment. Additionally, if no third party files

a timely claim, this order shall become the final order of forfeiture, pursuant to Federal Rule

of Criminal Procedure 32.2(c)(2) .

       Any petition filed by a third party asserting an interest in the subject property shall be

signed by the petitioner under penalty of perjury and shall set forth the nature and extent of

the petitioner’s right, title, or interest in the subject property, the time and circumstances of

the petitioner’s acquisition of the right, title, or interest in the subject property, and any

additional facts supporting the petitioner’s claim and the relief sought.

       After the disposition of any motion filed under Federal Rule of Criminal Procedure

32.2(c)(1)(A) and before a hearing on the petition, discovery may be conducted in

accordance with the Federal Rules of Civil Procedure upon a showing that such discovery

is necessary or desirable to resolve factual issues.

       The United States shall have clear title to the subject property following the

disposition of all third-party interests, or, if none, following the expiration of the period

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provided in 21 U.S.C. § 853(n) for the filing of third-party petitions.

       The undersigned shall retain jurisdiction to enforce this order and to amend it as

necessary, pursuant to Federal Rule of Criminal Procedure 32.2(e).

       IT IS SO ORDERED this 21st day of June 2013.



                                                   ________________________________
                                                    UNITED STATES DISTRICT JUDGE




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